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                      IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION

 In re:                                             )     Case No. 17-52865-PMB
                                                    )
 A-1 EXPRESS DELIVERY SERVICE,                      )     Chapter 7
 INC.,                                              )
                                                    )
          Debtor.                                   )


         NOTICE OF HEARING ON FIRST AND FINAL APPLICATION FOR
          COMPENSATION AND REIMBURSEMENT OF EXPENSES OF
      KILPATRICK TOWNSEND & STOCKTON LLP, AS COUNSEL FOR THE
    OFFICIAL COMMITTEE OF UNSECURED CREDITORS FOR THE PERIOD OF
                   MARCH 16, 2017 THROUGH MAY 1, 2017


          PLEASE TAKE NOTICE that Kilpatrick Townsend & Stockton LLP (the “Movant”), has
 filed a First and Final Application for Compensation and Reimbursement of Expenses of Kilpatrick
 Townsend & Stockton LLP, as Counsel for the Period of March 16, 2017 Through May 1, 2017 (the
 “Application”) in which the movant has requested that the Court award it fees and expenses incurred
 in representing the Official Committee of Unsecured Creditors in the above-captioned chapter 11
 case. A copy of the Application may be obtained (i) upon request to the Movant as listed below; and
 (ii) in the office of the Clerk, U.S. Bankruptcy Court between 8:00 a.m. and 4:00 p.m. or online
 anytime at http://ecf.ganb.uscourts.gov (registered users) or at http://pacer.psc.uscourts.gov
 (unregistered users).

        PLEASE TAKE FURTHER NOTICE that the Court will hold a hearing on the Application
 in Courtroom 1202, United States Courthouse, 75 Ted Turner Drive, SW, Atlanta, Georgia at 3:00
 p.m. on July 25, 2017.

          PLEASE TAKE FURTHER NOTICE that your rights may be affected by the Court’s
 ruling on the Application. You should read the Application carefully and discuss it with your
 attorney, if you have one in this bankruptcy case. (If you do not have an attorney, you may wish to
 consult one.) If you do not want the Court to grant the relief sought in the Application, or if you
 want the Court to consider your views, then you and/or your attorney should attend the hearing. You
 may also file a written response to the Application with the Clerk at the address stated below, but you
 are not required to do so. If you file a written response, you must attach a certificate stating when,
 how and on whom (including addresses) you served the response. Mail or deliver your response so
 that it is received by the Clerk at least two business days before the hearing. The address of the
 Clerk’s Office is: Clerk, U.S. Bankruptcy Court, Suite 1340, 75 Ted Turner Drive, SW, Atlanta,
 Georgia 30303. You must also mail a copy of your response to the Movant at the address stated
 below.
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      Respectfully submitted, this 30th day of June, 2017.

                                           KILPATRICK TOWNSEND & STOCKTON LLP

                                         /s/ Colin M. Bernardino

                                         Colin M. Bernardino, Esq.
                                         Georgia Bar. No. 054879
                                         Lindsey D. Simon
                                         Georgia Bar No. 687871
                                         1100 Peachtree Street NE, Suite 2800
                                         Atlanta, Georgia 30309-4528
                                         Telephone: (404) 532-6949
                                         Facsimile: (404) 541-4624
                                         Email: cbernardino@kilpatricktownsend.com
                                         Email: lsimon@kilpatricktownsend.com

                                         Counsel for the Official Committee of Unsecured
                                         Creditors




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                     IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE NORTHERN DISTRICT OF GEORGIA
                                ATLANTA DIVISION

 In re:                                         )     Case No. 17-52865-PMB
                                                )
 A-1 EXPRESS DELIVERY SERVICE,                  )     Chapter 7
 INC.,                                          )
                                                )
          Debtor.                               )



 FIRST AND FINAL APPLICATION FOR COMPENSATION AND REIMBURSEMENT
  OF EXPENSES OF KILPATRICK TOWNSEND & STOCKTON LLP, AS COUNSEL
    FOR THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS FOR THE
             PERIOD OF MARCH 16, 2017 THROUGH MAY 1, 2017

          This First and Final Application for Compensation and Reimbursement of Expenses (the

 “Application”) is made by Kilpatrick Townsend & Stockton LLP (“Kilpatrick Townsend”),

 counsel to the duly appointed Official Committee of Unsecured Creditors (the “Committee”) of

 A-1 Express Delivery Service, Inc. (the “Debtor”), and seeks compensation for services rendered

 and costs advanced by Kilpatrick Townsend for the period of March 16, 2017 through and

 including May 1, 2017 (the “Compensation Period”). In support of the Application, Kilpatrick

 Townsend respectfully represents as follows:


                             I.     JURISDICTION AND VENUE

          1.    The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334

 and 11 U.S.C. § 331. This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2)(A). Venue is

 proper in this district pursuant to 28 U.S.C. § 1409. The statutory predicates for the relief

 requested herein are Sections 105(a), 330(a) and 331 of the United States Bankruptcy Code (the

 “Bankruptcy Code”).




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                                     II.     BACKGROUND

        2.      On February 14, 2017 (the “Petition Date”), the Debtor filed a voluntary petition

 with this Court for relief under chapter 11 of the Bankruptcy Code (the “Bankruptcy Code”).

 The Debtor was authorized to manage its business as debtor in possession under sections 1107(a)

 and 1108 of the Bankruptcy Code.

        3.      On March 13, 2017, as amended on March 15, 2017, the U.S. Trustee appointed

 the Committee pursuant to section 1102 of the Bankruptcy Code.

        4.      Pursuant to the Court’s Order Authorizing the Employment and Retention of

 Kilpatrick Townsend & Stockton LLP as Attorneys for the Official Committee of Unsecured

 Creditors of A-1 Express Delivery Service, Inc., Nunc Pro Tunc to March 16 which was entered

 on March 31, 2017, [Docket No. 100], Kilpatrick Townsend was employed as counsel to the

 Committee, effective as of March 16, 2017.

        5.      The Debtor’s chapter 11 case was converted to a case under chapter 7 of the

 Bankruptcy Code by order of the Court dated May 1, 2017, [Docket No. 110] (the “Conversion

 Order”). The Conversion Order provides that no later than June 30, 2017, Committee counsel

 “shall file an application for final approval of fees and expenses incurred in or in connection with

 administration of the Case under Chapter 11 . . . .” Conversion Order ¶ 7.

             III.   REQUESTED COMPENSATION AND REIMBURSEMENT

        6.      This Application is filed by Kilpatrick Townsend pursuant to 11 U.S.C. §§ 330

 and 331 and Rule 2016(a) of the Federal Rules of Bankruptcy Procedure.

        7.      This Application is the first and final fee application filed by Kilpatrick Townsend

 in for services in the chapter 11 case. By this Application, Kilpatrick Townsend seeks final

 approval of professional fees and reimbursable expenses in the amounts of $14,958.00 and




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 $36.67, respectively (the “Application Amount”).

         8.      All of the professional services which are the subject of this Application were

 rendered by Kilpatrick Townsend exclusively at the request of the Committee and not for or at

 the request of any other person or entity.

         9.      No agreement exists, nor will any be made, to share any compensation received

 by Kilpatrick Townsend for its services on behalf of the Committee with any other person or

 firm.

         10.     All of the expenses for which Kilpatrick Townsend seeks reimbursement were

 actually and necessarily incurred by Kilpatrick Townsend in connection with its rendition of

 professional services to or for the Committee in the chapter 11 case.

         11.     As set forth in detail below, Kilpatrick Townsend’s services in this case have been

 substantial, necessary, and beneficial to the Committee, the general unsecured creditors and other

 creditors, the Debtor and its estate, and other parties in interest.

                IV.     EXHIBITS WITH DETAIL OF FEES AND EXPENSES

         12.     In the ordinary course of its business, Kilpatrick Townsend maintains records of

 time expended by its attorneys and paralegals in rendering services to its clients. The time

 records are made contemporaneously with the rendering of professional services and are

 prepared contemporaneously by the professional who rendered the service.

         13.     Kilpatrick Townsend also maintains contemporaneous records of all actual and

 necessary expenses incurred in connection with the rendition of professional services to its

 clients in the ordinary course of its business.

         14.     The exhibits relating to the professional services performed and reimbursable

 expenses incurred during the Compensation Period are as follows:



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                a.      Exhibit “A” is a summary of the hours expended during the
                        Compensation Period by each professional.

                b.      Exhibit “B” is a summary of the professional services rendered
                        during the Compensation Period for each Task Code.

                c.      Exhibit “C” are the applicable invoices for work completed during
                        the period from March 16, 2017 through May 1, 2017, detailing
                        chronologically, by Task Code, all of the professional services
                        rendered to the Committee during the Compensation Period, from
                        Kilpatrick Townsend’s contemporaneous time records. The time
                        records show the professional services rendered, the date on which
                        the services were performed, the person who performed the
                        services, and the amount of time spent performing the services.

                d.      Exhibit “D” is a statement detailing expenses incurred, which
                        expenses are considered extraordinary and not included in
                        Kilpatrick Townsend’s overhead, for which approval of
                        reimbursement is requested by this Application during the
                        Compensation Period.

       V.      SUMMARY OF LEGAL SERVICES PERFORMED BY KILPATRICK
                 TOWNSEND DURING THE COMPENSATION PERIOD

        15.     Set forth below are summary descriptions of the legal services performed by

 Kilpatrick Townsend during the Compensation Period on behalf of the Committee. The time

 records for the legal services, in a chronological listing by Task Code, are set forth in Exhibit C.

 These legal services were performed under the supervision of Colin M. Bernardino, lead counsel

 for the Committee.

        16.     The recitation of each and every professional service Kilpatrick Townsend

 performed for the Committee during the Compensation Period would unduly burden the Court.

 Hence, the following summary highlights the major areas to which Kilpatrick Townsend devoted

 substantial time and attention during the Compensation Period:

        (a) advising the Committee concerning their rights and options in the chapter 11 case;

        (b) reviewing the Debtor’s schedules, pleadings, applications, petitions, orders, and other

        documents and providing the Committee with analysis and advice relating to such


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        documents;

        (c) investigating creditors’ liens and claims;

        (d) investigating causes of action held by the estate;

        (e) evaluating and representing the Committee on issues before the Court, including the

        sale, cash collateral, and other case motions;

        (f) representing the Committee at the Section 341 meeting; and

        (g) all other maters necessary and incidental to the representation of the Committee in the

        chapter 11 case.

        17.     When reviewing a fee application, this Court evaluates the following factors: time

 and labor required; the novelty and difficulty of the questions presented; the skills requisite to

 performing the legal services properly; the preclusion of other employment by the attorney or

 trustee due to acceptance of this case; the customary fee charged by such attorney or trustee;

 whether the fee is fixed or contingent; time limitations imposed by the client or other

 circumstances; the amount involved and the results obtained; the experience, reputation and

 ability of the attorney or trustee; the “undesirability” of the case; the nature and length of the

 professional relationship with the client; and awards in similar cases.        Grant v. George

 Schumann Tire & Battery Company, 908 F.2d 874 (11th Cir. 1990).

        18.     As shown on the attached invoices, Kilpatrick Townsend seeks compensation for

 services rendered at its regular rates, with a ten percent discount, charged during the

 Compensation Period. The timing of the Committee’s formation within the chapter 11 case

 required Kilpatrick Townsend to act swiftly and decisively to represent the Committee on

 important substantive matters, including the use of cash collateral and the asset purchase

 agreement. Furthermore, Kilpatrick Townsend’s rates for its services which are sought in this




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 motion are in line with awards in similar cases. Under the circumstances, the services Kilpatrick

 Townsend rendered and expenses incurred in the requested amounts are necessary and

 reasonable.

                           VI.     Summary of Reimbursable Expenses

        19.    Kilpatrick Townsend incurred actual and necessary out-of-pocket expenses during

 the Compensation Period in connection with the rendition of the professional services described

 above in the amounts set forth in Exhibit D.        By this Application, Kilpatrick Townsend

 respectfully requests allowance of such reimbursement in full.




                       [Remainder of Page Intentionally Left Blank]




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        WHEREFORE, Kilpatrick Townsend respectfully requests that this Court enter an

 Order, substantially in the form of the attached Exhibit E, providing for: (a) approval of

 Kilpatrick Townsend’s professional fees of $14,958.00 and reimbursable expenses of $36.67 for

 an aggregate of $14,977.67 (the “Final Compensation”) for the Compensation Period; and (b)

 authorization for the Final Compensation to be an allowed administrative expense of the chapter

 11 case, to be paid as and when funds are available in accordance with sections 726, 507, and

 503(b)(2) of the Bankruptcy Code or by other order of this Court.



 Dated: June 30, 2017                     /s/ Colin M. Bernardino

                                          KILPATRICK TOWNSEND & STOCKTON LLP
                                          Colin M. Bernardino, Esq.
                                          Georgia Bar. No. 054879
                                          Lindsey D. Simon
                                          Georgia Bar No. 687871
                                          1100 Peachtree Street NE, Suite 2800
                                          Atlanta, Georgia 30309-4528
                                          Telephone: (404) 532-6949
                                          Facsimile: (404) 541-4624
                                          Email: cbernardino@kilpatricktownsend.com
                                          Email: lsimon@kilpatricktownsend.com
                                          Counsel for the Official Committee of Unsecured
                                          Creditors
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                      IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION

 In re:                                            )     Case No. 17-52865-PMB
                                                   )
 A-1 EXPRESS DELIVERY SERVICE,                     )     Chapter 7
 INC.,                                             )
                                                   )
          Debtor.                                  )

         DECLARATION OF COLIN M. BERNARDINO IN SUPPORT OF
 FIRST AND FINAL APPLICATION FOR COMPENSATION AND REIMBURSEMENT
  OF EXPENSES OF KILPATRICK TOWNSEND & STOCKTON LLP, AS COUNSEL
    FOR THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS FOR THE
             PERIOD OF MARCH 16, 2017 THROUGH MAY 1, 2017

          I, Colin M. Bernardino, declare under penalty of perjury that the statements contained in

 the foregoing Application as to fees and expenses sought for Kilpatrick Townsend & Stockton

 LLP are true and correct and that no agreement exists, directly or indirectly, for division of the

 compensation to be awarded with any creditor, the Debtors, any other attorney (except in

 accordance with agreements between the firm’s members), or any other person whatsoever.

          This 30th day of June, 2017.


                                                                /s/ Colin M. Bernardino
                                                               COLIN M. BERNARDINO




             Penalty for making a false statement or concealing property: Fine of up to
           $500,000 or imprisonment for up to 5 years or both. 18 U.S.C. §§152 and 3571.
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                      IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION

 In re:                                            )     Case No. 17-52865-PMB
                                                   )
 A-1 EXPRESS DELIVERY SERVICE,                     )     Chapter 7
 INC.,                                             )
                                                   )
          Debtor.                                  )


                                   CERTIFICATE OF SERVICE


          This is to certify that on June 30, 2017, I served a true and correct copy of the First and

 Final Application for Compensation and Reimbursement of Expenses of Kilpatrick Townsend &

 Stockton LLP, as Counsel for the Period of March 16, 2017 Through May 1, 2017 by causing the

 same to be deposited in the United States Mail with adequate postage affixed thereon and addressed

 to the following persons:


 Matthew W. Levin                                      Lindsay P. Kolba
 J. Robert Williamson                                  OFFICE OF THE UNITED STATES
 SCROGGINS &WILLIAMSON, P.C.                           TRUSTEE
 One Riverside                                         362 Richard Russell Building
 4401 Northside Parkway                                75 Ted Turner Drive, SW
 Suite 450                                             Atlanta, GA 30303
 Atlanta, Georgia 30327

                                                       M. Denise Dotson, LLC
 William A. Rountree                                   170 Mitchell St., SW
 Macey, Wilensky & Hennings, LLC                       Atlanta, GA 30303
 303 Peachtree Street, NE, Suite 4420,
 Atlanta, GA 30308

                                             /s/ Colin M. Bernardino
                                             KILPATRICK TOWNSEND & STOCKTON LLP
                                             Colin M. Bernardino, Esq.
                                             (Georgia Bar. No. 054879)
                                             1100 Peachtree Street NE, Suite 2800
                                             Atlanta, Georgia 30309-4528
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                                    Telephone: (404) 532-6949
                                    Facsimile: (404) 541-4624
                                    Email: cbernardino@kilpatricktownsend.com

                                    Counsel for the Official Committee of Unsecured
                                    Creditors




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                                  EXHIBIT A
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                              SUMMARY OF BILLING BY PROFESSIONAL


                       Position of the Professional Person, Number
                                                                          Hourly Billing
                        of Years in that Position, Prior Relevant                          Total       Total
Name of Professional                                                          Rate                  Compensation
                        Experience, Year of Obtaining License to                           Hours
      Person                    Practice, Area of Expertise

Colin M. Bernardino      Partner of firm since 2010 specializing in
(“CMB”)                 creditors’ rights/insolvency law, admitted in         $630         12.8         $7,843.50
                                             2000.

Lindsey D. Simon        Associate at firm since 2015, specializing in
(“LS”)                 creditors’ rights/insolvency law and litigation,      $346.50       19.5         $6,756.75
                                      admitted in 2014.

Shavone Green                         Paraprofessional
(“SG”)                                                                       $238.50        1.5           $357.75

                                    GRAND TOTAL:                                           33.8        $14,958.00

BLENDED HOURLY
RATE:                  $442.51
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                                  EXHIBIT B
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                    SERVICES RENDERED BY TASK CODE
             MARCH 16, 2017 THROUGH AND INCLUDING MAY 1, 2017

       BILLING CATEGORY / TASK CODE                 HOURS              AMOUNT

 Case Administration                                         5.3               $1,674.45
 Asset Analysis and Recovery                                 5.5               $2,189.25
 Asset Disposition                                           3.3               $2,079.00
 Meetings of and Communications w/ Creditors                 9.1               $4,485.60
 Fee/Employment Applications                                 5.1               $2,192.40
 Avoidance Action Analysis                                   0.3                $189.00
 Other Contested Matters                                     3.6               $1,360.80
 Non-Working Travel                                          0.7                $220.50
 Financing/Cash Collections                                  0.9                $567.00
 TOTALS:                                                    33.8              $14,958.00
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                                  EXHIBIT C
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                                                                                           Please Remit Payments Only To:
                            ri 11                      Document      Page 18 of 30                        P.O. Box 945614
                                                                                                                               Atlanta, Georgia 30394
                                                                                                                             Telephone (866) 244-4934
           ATTORNEYS AT I.AW                                                            Payments Only: accountsreceivable@kilpatricktownsend.com
                                                                         Billing Inquiries: financialservices-billingrequests@kilpatricktownsend.com
                                                                                                                                   Fed I.D. XX-XXXXXXX




April 14, 2017

A-1 EXPRESS DELIVERY CREDITORS COMMITTEE                                                    Client:                    102560
C/0 AMTRUST NORTH AMERICA                                                                   Matter;                    1044038
C/0 ALAN C. HOCHHEISER                                                                      Invoice #:                 11891005
MAURICE WUTSCHER, LLP
2000 AUBURN DRIVE, SUITE 200, ONE CHAGRIN
HIGHLANDS
BEACH WOOD, OH 44122


RE:      A-1 EXPRESS CREDITORS COMMITTEE

For Professional Services Through March 31, 2017:

                                                         BllO - Case Administration
 Date                Initials       Description                                                                           Hours                Amount

 03/17/2017          SG             Prepare, file and serve notice of appearance (.4);                                       0.50               119.25
                                    calendar hearing dates and objection deadlines (.1).
 03/17/2017          LS             Correspondence with C. Bernardino and S. Green                                           0.40               138.60
                                    regarding A-1 express deadlines.
 03/18/2017          LS             Review sale, cash collateral, and other pleadings (1.1);                                 1.40              485.10
                                    prepare memorandum to C. Bernardino regarding case
                                    issues and pending matters before the court (.3).
 03/19/2017          LS             Correspondence with C. Bernardino regarding                                              0.70              242.55
                                    summary of assets and correspondence with Debtor's
                                    counsel (.4); prepare committee meeting agenda (.3).
 03/20/2017          LS             Correspondence with C. Bernardino regarding                                              0.20                69.30
                                    summary of cash collateral and lift stay hearings.
 03/21/2017          LS              Prepare committee bylaws.                                                               0.30               103.95

 03/28/2017          LS              Meet with C. Bernardino regarding case status,                                          0.60              207.90
                                     conversion, and approach to 341 meeting (.3);
                                     correspondence with United States Trustee regarding
                                     341 meeting (.2); call with C. Bernardino regarding the
                                     same(.l).
 03/30/2017          SG              Prepare, file and serve employment application (.4);                                    0.50               119.25
                                     upload application order (.1).
              Amounts are calculated per entry, rounding discrepancies may occur in summaries or totals as a result ofprearranged discounts.

                                 Due and Payable upon receipt. 1% interest per month charged on balances after 30 days.

        When you provide a check as payment, you authorize us either to use infonnation from your check to make a one-time electronic fund transfer
                                          from your account or to process the payment as a check transaction.
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                                          BllO - Case Administration
Date         Initials   Description                                                  Hours       Amount

03/31/2017   SG           Prepare and file certificate of service (.3); serve         0.50        119.25
                          committee application order (.2).
                          Task Subtotal                                               5.10      1,605.15



                                     B120 - Asset Analysis and Recovery
Date         Initials     Description                                                Hours       Amount

03/22/2017   CMB          Review schedules and SOFA (.2); telephone call to M.        1.00        630.00
                          Levin regarding status of closing, conversion, and
                          remaining estate assets (.6); telephone call to L. Simon
                          regarding same (.2).
03/22/2017   LS           Review schedules and sale motion and order to               1.50        519.75
                          evaluate any assets or information which were not
                          transfered in the sale (1.3); prepare memorandum
                          regarding same to C. Bernardino (.2).
03/29/2017   LS           Prepare for and attend 341 Meeting on behalf of the         3.00       1,039.50
                          Committee (2.4); correspondence with C. Bernardino
                          regarding the same (.2); prepare memorandum to C.
                          Bernardino regarding 341 meeting (.4).
                          Task Subtotal                                               5.50      2,189.25



                                            BOO - Asset Disposition
Date         Initials     Description                                                Hours       Amount

03/16/2017   CMB          Attend sale hearing.                                        3.30       2,079.00

                          Task Subtotal                                               3.30       2,079.00



                           BOO - Meetings of and Communications w/ Creditors
Date         Initials     Description                                                Hours       Amount

03/16/2017   CMB          Prepare correspondence to Committee regarding sale          0.20         126.00
                          hearing (.1); telephone call to L. Simon regarding
                          bylaws (.1).........
03/17/2017   CMB          Telephone call to L. Simon regarding committee              0.30         189.00
                          agenda items (.1); correspondence regarding objection
                          deadlines and hearings (. 1); prepare correspondence to
                          Committee regarding next meeting (.1).
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                           B150 - Meetings of and Communications w/ Creditors
Date         Initials   Description                                               Hours        Amount

03/20/2017   CMB          Revise Committee meeting agenda (.1); prepare for        0.90         567.00
                          Committee meeting (.3); participate in Committee
                          meeting (.4); prepare correspondence to L. Simon
                          regarding meeting minutes (.1).
03/20/2017   LS           Prepare for and attend telephonic meeting of             0.70         242.55
                          Committee of Unsecured Creditors.
03/23/2017   CMB          Correspondence from and to M. Bradley regarding          0.10          63.00
                          Jevic decision.
03/23/2017   LS           Review docket and pleadings and prepare                  0.90         311.85
                          memorandum to Committee regarding same.
03/27/2017   CMB          Telephone call from and to S. Goldstein regarding        0.10          63.00
                          status of case.
03/28/2017   CMB          Review correspondence regarding 341 meeting (.1);        0.60         378.00
                          telephone call to L. Simon regarding potential 341
                          meeting areas of inquiry (.5).
03/29/2017   CMB          Conference with L. Simon regarding 341 meeting (.3);     1.10         693.00
                          revise committee meeting agenda and minutes (.2);
                          revise bylaws (.2); prepare correspondence to
                          Committee members regarding agenda, revised
                          bylaws, conversion motion and 341 meeting (.4).
03/29/2017   LS           Prepare Committee meeting minutes and agenda for         0.50         173.25
                          3/30/17 meeting (.4); call with C. Bernardino
                          regarding the same (.1).
03/30/2017   CMB          Prepare for Committee meeting (.7); participate in        1.30        819.00
                          Committee meeting (.6).
03/30/2017   LS           Prepare for committee meeting (.6); attend telephonic     1.40        485.10
                          Committee meeting (.6); call with C. Bernardino
                          regarding Committee call (.2).
03/31/2017   CMB          Prepare correspondence to M. Bradley regarding           0.10          63.00
                          Committee meeting and motion to convert and prepare
                          correspondence to Committee regarding next
                          Committee meeting.
                          Task Subtotal                                            8.20        4,173.75
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                                    B160 - Fee/Employment Applications
Date         Initials   Description                                               Hours       Amount

03/16/2017   LS           Correpsondence with C. Bernardino regarding              0.60        207.90
                          retention (.3); prepare retention application (.3).
03/16/2017   LS           Prepare and revise retention application (1.6);          1.70        589.05
                          correspondence with C. Bernardino regarding the same
                          (.1).

03/17/2017   CMB          Revise employment application.                           0.80        504.00

03/18/2017   CMB          Review and revise retention application.                 0.40        252.00

03/19/2017   LS           Review and revise retention application.                 1.30        450.45

03/20/2017   CMB          Revise retention application.                            0.30        189.00

                          Task Subtotal                                            5.10      2,192.40



                                        B180 - Avoidance Action Analysis
Date         Initials     Description                                             Hours       Amount

03/18/2017   CMB          Telephone call from S. Goldstein regarding Cap           0.30        189.00
                          Fusion claim and potential estate causes of action.
                          Task Subtotal                                            0.30        189.00



                                          B195 - Non-Working Travel
Date         Initials     Description                                             Hours       Amount

03/16/2017   CMB          Travel to and from sale hearing.                         0.70        220.50

                          Task Subtotal                                            0.70        220.50



                                        B230 - Finaneing/Cash Collections
Date         Initials     Description                                             Hours       Amount

03/18/2017   CMB          Correspondence from and to L. Simon regarding sale       0.60        378.00
                          of assets and security interests (.2); review Summitt
                          security agreement and financing statement (.4).
03/19/2017   CMB          Correspondence from and to L. Simon regarding            0.10         63.00
                          satisfaction of Summit claim and cash collateral
                          hearing.
03/27/2017   CMB          Review motion to cancel cash collateral hearing.         0.10         63.00
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                                          B230 - Financing/Cash Collections
Date          Initials      Description                                                      Hours       Amount

03/28/2017    CMB           Review debtor's cash collateral notice.                           0.10         63.00

                            Task Subtotal                                                     0.90        567.00



                                  Total Fees                                                          $13,216.05



                                                Task Code Summary

Task Code         Task Description                                                                       Amount

BllO              Case Administration                                                                    1,605.15

B120              Asset Analysis and Recovery                                                            2,189.25

B130              Asset Disposition                                                                      2,079.00

B150              Meetings of and Communications w/ Creditors                                            4,173.75

B160              Fee/Employment Applications                                                            2,192.40

B180              Avoidance Action Analysis                                                                189.00

B195              Non-Working Travel                                                                      220.50

B230              Financing/Cash Collections                                                              567.00
                                                                                     Total             $13,216.05


Summary       Timekeeper Name                      Title                 Hours        Rate/Hour          Amount

 CMB          Colin M. Bernardino                  Partner                11.70          630.00          7,371.00

 CMB          Colin M. Bernardino                  Partner                0.70           315.00            220.50

 LS           Lindsey Simon                        Associate              15.20          346.50          5,266.80

 SG           Shavone Green                        Paralegal                  1.50       238.50            357.75

                                                             Totals      29.10                         $13,216.05


 Other Charges:
 03/16/2017              Parking to Attend Hearing for A-1 Express                                          17.00


                                   Total Other Charges                                                    $17.00



 TOTAL AMOUNT DUE THIS INVOICE                                                                        $13,233.05
  Case 17-52865-pmb                     Doc 137         Filed 06/30/17 Entered 06/30/17 16:44:20       Desc Main
                                                                                          Please Remit Payments Only To:
                                                      Document      Page 23 of 30                        P.O. Box 945614
                                                                                                                             Atlanta, Georgia 30394
                                                                                                                            Telephone (866) 244-4934
                            AW                                                         Payments Only; accountsreceivable@kilpatricktownsend.com
                                                                        Biiling inquiries; financiaiservices-biilingrequests@kilpatricktownsend.com
                                                                                                                                 Fed I.D. XX-XXXXXXX




May 12, 2017

A-1 EXPRESS DELIVERY CREDITORS COMMITTEE                                                  Client:                    102560
C/0 AMTRUST NORTH AMERICA                                                                 Matter:                    1044038
C/0 ALAN C. HOCHHEISER                                                                    Invoice #:                 11903841
MAURICE WUTSCHER, LLP
2000 AUBURN DRIVE, SUITE 200, ONE CHAGRIN
HIGHLANDS
BEACH WOOD, OH 44122


RE:    A-1 EXPRESS CREDITORS COMMITTEE

For Professional Services Through April 30,2017:

                                                        BllO - Case Administration
Date               Initials         Description                                                                           Hours             Amount

04/28/2017         LS               Prepare correspondence to M. Levin and C.                                              0.20                69.30
                                    Bernardino regarding conversion order.
                                    Task Subtotal                                                                          0.20                69.30



                                      B150 - Meetings of and Communications w/ Creditors
Date               Initials         Description                                                                           Hours             Amount

 04/05/2017        LS               Correspondence to and from C. Bernardino regarding                                     0.70              242.55
                                    creditor call (.2); telephone call to M. Lowe regarding
                                    creditor's claims (.5).
 04/20/2017        LS               Correspondence to and from C. Bernardino and                                           0.20                69.30
                                    members of the Committee regarding case status and
                                    meeting.
                                    Task Subtotal                                                                          0.90              311.85




           Amounts are calculated per entry, rounding discrepancies may occur in summaries or totals as a result ofprearranged discounts.

                                 Due and Payable upon receipt. 1% interest per month charged on balances after 30 days.

      When you provide a check as payment, you authorize us either to use infonuation from your check to make a one-time electronic fund transfer
                                        from your account or to process the payment as a check transaction.
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                                          B190 - Other Contested Matters
Date         Initials       Description                                                    Hours       Amount

04/25/2017   CMB            Telephone calls to L. Simon and M. Levin regarding              0.30        189.00
                            conversion hearing.
04/25/2017   LS             Prepare for and attend hearing on motion to convert             2.70        935.55
                            (2.3); prepare memorandum to the Committee
                            regarding same (.2); correspondence to and from C.
                            Bernardino regarding the same (.2).
04/27/2017   CMB            Correspondence from and to L. Simon regarding                   0.10         63.00
                            conversion order and review of same.
04/27/2017    LS            Review proposed conversion order from M, Levin (.2);            0.50        173.25
                            correspondence from and to M. Levin and C.
                            Bernardino regarding same (.2); prepare
                            correspondence to Committee members regarding
                            proposed conversion order (. 1).
                            Task Subtotal                                                   3.60       1,360.80



                                  Total Fees                                                         $1,741.95



                                               Task Code Summary
Task Code         Task Description                                                                     Amount

BllO              Case Administration                                                                    69.30

B150              Meetings of and Communications w/ Creditors                                           311.85

B190              Other Contested Matters                                                              1,360.80
                                                                                   Total              $1,741.95


Summary       Timekeeper Name                    Title                   Hours      Rate/Hour          Amount

CMB           Colin M. Bernardino                Partner                   0.40        630.00           252.00

LS            Lindsey Simon                      Associate                 4.30        346.50          1,489.95

                                                           Totals          4.70                       $1,741.95


 Other Charges:
04/20/2017              Travel and Ground Transportation - Parking Expense of Lindsey Simon on            17.00
                        04/20/17 regarding 341 meeting parking
                        Long Distance Charges Soundpath; Conference Call; 03/13/17 - 04/12/17              2,67
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                            Total Other Charges                                      $19.67



TOTAL AMOUNT DUE THIS INVOICE                                                      $1,761.62
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                                  EXHIBIT D
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                      EXPENSE SUMMARY FOR PERIOD
             MARCH 16, 2017 THROUGH AND INCLUDING MAY 1, 2017

                                                         Total
                 Expense Category
                                                        Expenses
      Telephone Calls (tolls only)                       $2.67
      Transportation                                    $34.00
      TOTAL:                                            $36.67
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                                  EXHIBIT E
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                     IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE NORTHERN DISTRICT OF GEORGIA
                                ATLANTA DIVISION

 In re:                                          )     Case No. 17-52865-PMB
                                                 )
 A-1 EXPRESS DELIVERY SERVICE,                   )     Chapter 7
 INC.,                                           )
                                                 )
          Debtor.                                )



  ORDER GRANTING FIRST AND FINAL APPLICATION FOR COMPENSATION AND
   REIMBURSEMENT OF EXPENSES OF KILPATRICK TOWNSEND & STOCKTON
 LLP, AS COUNSEL FOR THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS
           FOR THE PERIOD OF MARCH 16, 2017 THROUGH MAY 1, 2017


          Upon the First and Final Application for Compensation and Reimbursement of Expenses

 of Kilpatrick Townsend & Stockton LLP as Counsel for the Official Committee of Unsecured

 Creditors for the Period of March 16, 2017 through May 1, 2017 (the “Application”); and it

 appearing that the Court has jurisdiction over the Application pursuant to 28 U.S.C. §§ 157 and

 1334 and 11 U.S.C §§ 330 and 331; and due and adequate notice of the Application having been

 given; and this Court having determined that granting the relief requested in the Application is in
Case 17-52865-pmb        Doc 137     Filed 06/30/17 Entered 06/30/17 16:44:20        Desc Main
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 the best interests of the Debtor, its estate, and its creditors; and after due deliberation and

 sufficient cause appearing therefore;

 IT IS HEREBY ORDERED THAT:

        1.      The Application is hereby approved;

        2.      Kilpatrick Townsend is hereby awarded final compensation for the period

                of March 16, 2017 through May 1, 2017, in the amount of $14,958.00 for

                professional fees and $36.67 in reimbursable expenses for an aggregate of

                $14,977.67 (the “Final Compensation”); and

        3.      The Final Compensation shall be an allowed administrative expense of the

                chapter 11 case, to be paid as and when funds are available in accordance

                with sections 726, 507, and 503(b)(2) of the Bankruptcy Code or pursuant

                to other order of this Court.


                                         END OF DOCUMENT

 Order prepared by:

 KILPATRICK TOWNSEND & STOCKTON LLP
 Colin M. Bernardino
 Georgia Bar No. 054879
 Lindsey D. Simon
 Georgia Bar No. 687871
 1100 Peachtree Street, NE, Suite 2800
 Atlanta, GA 30309
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 Counsel for the Official Committee of Unsecured Creditors
